
21 A.3d 618 (2011)
420 Md. 43
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Steven Marc ASSARAF, Respondent.
Misc. Docket AG No. 92, September Term, 2010.
Court of Appeals of Maryland.
June 13, 2011.

ORDER
Upon consideration of the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent Steven Marc Assaraf to disbar the Respondent, by consent, any opposition thereto, and for good cause shown, it is this 13th day of, June 2011, hereby
ORDERED, by the Court of Appeals of Maryland, that the Respondent Steven Marc Assaraf be and hereby is disbarred by consent from the practice of law in the State of Maryland, and it is further
ORDERED, that the effective date of the Respondent's disbarment is 13th, June 2011, and it is further
ORDERED, that the Clerk of this Court shall, on June 13, 2011, remove the name of Steven Marc Assaraf from the register of attorneys in the Court and certify that fact to the Client Protection Fund and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
